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16                               UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN FRANCISCO DIVISION

19   SLOT SPEAKER TECHNOLOGIES,
     INC.,                                       Case No. 3:13-CV-01161-HSG (DMR)
20
                          Plaintiff,             JOINT CASE MANAGEMENT
21                                               STATEMENT AND [PROPOSED] ORDER
             v.
22
     APPLE INC.,
23
                          Defendant.
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     133608368                                          JOINT CASE MANAGEMENT STATEMENT
                                                        AND [PROPOSED] ORDER
                                                        CASE NO. 3:13-CV-01161-HSG (DMR)
 1           Pursuant to Civil L.R. 16-10(d), the Standing Order for All Judges of the Northern District

 2   of California, and the Court’s November 4, 2016 Claim Construction Order (Dkt. No. 206),

 3   Plaintiff Slot Speaker Technologies, Inc. (“SST”), formerly known as THX Ltd., and Defendant

 4   Apple Inc. (“Apple”) hereby respectfully submit this Joint Case Management Statement.

 5   1.      JURISDICTION AND SERVICE

 6           The parties agree that the Court has subject matter jurisdiction over this action under

 7   28 U.S.C. §§ 1331 and 1338(a). The parties are not aware of any issues regarding personal

 8   jurisdiction or venue. No parties remain to be served.

 9   2.      FACTS
10           Chronology of the Case

11           This is a patent infringement case wherein SST alleges infringement of U.S. Patent Nos.

12   7,433,483 (“the ’483 patent”) and 8,457,340 (“the ’340 patent”) (collectively, “the Patents-In-

13   Suit”). SST filed a Complaint alleging infringement of the ’483 patent on March 14, 2013 (Dkt.

14   No. 1) and an Amended Complaint on July 11, 2013 that added a claim for infringement of the

15   ’340 patent. (Dkt. No. 12.) The Amended Complaint alleges that Apple infringes the ’483 and

16   ’340 patents by, among other things, making, using, importing, offering to sell, and/or selling in

17   the United States products covered by one or more claims of the ’483 and ’340 patents in

18   violation of 35 U.S.C. § 271, including but not limited to Apple’s iPhone 5 and later models, as

19   well as its iPad products. On August 1, 2013, Apple filed an Answer and Counterclaim denying
20   infringement and asserting counterclaims for patent invalidity and non-infringement. (Dkt. No.

21   26.)

22           On December 6, 2013, Apple filed petitions for Inter Partes Review (“IPR petitions”) of

23   claims 1-7 and 29-34 of the ’340 patent and claims 1-6, 8, 10, 16 and 18-20 of the ’483 patent

24   before the United States Patent and Trademark Office Patent Trial and Appeal Board (“PTAB”).

25   Apple’s petition with respect to the ’340 patent was assigned case no. IPR2014-00234 (“IPR-

26   234”) and Apple’s petition with respect to the ’483 patent was assigned case no. IPR2014-00235

27   (“IPR-235”). On October 24, 2013, in view of Apple’s forthcoming IPR petitions, the parties

28   stipulated to staying this litigation until the PTAB issued a final written decision on the IPR
     133608368                                      -1-       JOINT CASE MANAGEMENT STATEMENT
                                                              AND [PROPOSED] ORDER
                                                              CASE NO. 3:13-CV-01161-HSG (DMR)
 1   petitions. (Dkt. No. 34.) On October 25, 2013, the Honorable Jeffrey S. White so-ordered the

 2   parties’ stipulation to stay the case. (Dkt. No. 35.)

 3           On June 11, 2014, the PTAB issued decisions on whether it would institute inter partes

 4   review of the Patents-In-Suit. With respect to IPR-234, the PTAB declined to institute inter

 5   partes review of any claim of the ’340 patent. With respect to IPR-235, the PTAB instituted inter

 6   partes review of claims 1-3 of the ’483 patent but declined to institute inter partes review of the

 7   remaining challenged claims. Accordingly, the parties proceeded with inter partes review of

 8   claims 1-3 of the ’483 patent. On June 9, 2015, the PTAB issued a Final Written Decision (the

 9   “Decision”) in which it found that claims 1 and 2 of the ’483 patent are unpatentable and that
10   Apple did not show that claim 3 is unpatentable.

11           The parties timely appealed the Decision to the United States Court of Appeals for the

12   Federal Circuit, with SST appealing the Decision as to claims 1 and 2 of the ’483 patent and

13   Apple cross-appealing the Decision as to claim 3 of the ’483 patent. SST’s appeal was assigned

14   case no. 15-2038, and Apple’s cross-appeal assigned case no. 15-2039 and associated with SST’s

15   appeal. The appeal and cross-appeal were submitted for decision after oral argument, which was

16   held on October 5, 2016. The parties are awaiting a decision from the Federal Circuit.

17           On November 4, 2016, the Court issued its claim construction Order. (Dkt. No. 206.)

18           The parties have set forth their respective positions on the discovery and pretrial schedule

19   in Attachment A.
20           Principal Factual Issues in Dispute

21           The issues set forth below are not intended to be final or exhaustive, and the parties

22   reserve the right to reformulate these issues, dispute that they are issues, or include any other

23   appropriate issues as they develop or become known to the parties through the course of

24   discovery and investigation. Further, the characterization of an issue as “factual” or “legal” is not

25   a concession that it is not the other or both.

26           The principal factual issues in dispute are:

27           (a)     Whether Apple infringes the ’483 and/or ’340 patents, either literally or under the

28                   doctrine of equivalents and, if so, by what instrumentality;
     133608368                                        -2-      JOINT CASE MANAGEMENT STATEMENT
                                                               AND [PROPOSED] ORDER
                                                               CASE NO. 3:13-CV-01161 HSG (DMR)
 1          (b)     Whether the ’483 and ’340 patents are invalid and/or unenforceable;1

 2          (c)     Whether SST is entitled to damages for any alleged infringement;

 3          (d)     If SST is entitled to any damages, factors relevant to damages and the amount of

 4                  damages; and

 5          (e)     Whether this case is exceptional under 35 U.S.C. § 285, and, if so, whether either

 6                  party is entitled to an award of attorney fees.

 7          The parties reserve the right to raise additional factual issues that may arise through the

 8   course of this action.

 9   3.     LEGAL ISSUES
10          The principal legal issues are expected to include:

11          (a)     Whether Apple has infringed any of the asserted claims of the ’483 and/or ’340

12                  patents as construed by the Court, either literally or under the doctrine of

13                  equivalents;

14          (b)     Whether the ’483 and ’340 patents are invalid and/or unenforceable;

15          (c)     Whether SST’s claims are barred, precluded, or otherwise improper based on one

16                  or more of Apple’s affirmative defenses;

17          (d)     Whether SST is entitled to injunctive relief;

18          (e)     Whether SST is entitled to damages or any other relief for any alleged

19                  infringement by Apple;
20          (f)     Whether any party is entitled to attorneys’ fees and costs (35 U.S.C. § 285);

21          (g)     Whether SST is entitled to enhanced damages for willful infringement (35 U.S.C.

22                  § 284); and

23          (f)     Whether SST’s claims for damages are barred or limited based on 35 U.S.C.

24                  §§ 286 and/or 287 and 28 U.S.C. § 1498.

25          The parties reserve the right to raise additional legal issues that may arise through the

26   course of this action.

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       SST does not believe that Apple has properly pleaded unenforceability of the ’483 and/or ’340
28   patents.
     133608368                                    -3-      JOINT CASE MANAGEMENT STATEMENT
                                                              AND [PROPOSED] ORDER
                                                              CASE NO. 3:13-CV-01161 HSG (DMR)
 1   4.      MOTIONS

 2           A.     Past Motion Practice

 3           On November 24, 2015, SST filed an Unopposed Motion for Leave to Amend its

 4   Infringement Contentions (Dkt. No. 52), which the Court granted (Dkt. No. 53).

 5           On March 5, 2016, Apple filed a Motion for Leave to Amend its Invalidity Contentions.

 6   (Dkt. No. 90.) After briefing, the Court granted the motion. (Dkt. No. 103.)

 7           On July 12, 2016, Apple filed a second Motion for Leave to Amend its Invalidity

 8   Contentions. (Dkt. No. 133.) SST did not oppose the motion, and the Court granted it. (Dkt. No.

 9   183.)

10           On August 8, 2016, SST filed a second Motion for Leave to Amend its Infringement

11   Contentions, which Apple opposed. (Dkt. No. 156.) After briefing and oral argument, the Court

12   granted the motion. (Dkt. No. 190.)

13           B.     Pending Motions

14           The following motions are currently pending before this Court or Magistrate Judge Ryu:

15                        Apple’s Motion for Sanctions and SST’s Cross-Motion to Re-Designate

16                         Deposition Testimony, filed on July 29, 2016 and August 12, 2016,

17                         respectively. (Dkt. Nos. 142, 162.) Briefing on those motions is complete,

18                         and a hearing is scheduled for December 8, 2016 before Magistrate Judge

19                         Ryu;

20                        Joint Letter Brief to Judge Ryu regarding Apple’s response to SST

21                         Interrogatory No. 13, filed on August 4, 2016. (Dkt. No. 152);

22                        SST’s Motion to Strike Portions of Apple’s Invalidity Contentions, filed on

23                         August 8, 2016. (Dkt. No. 157.) Briefing on this motion is complete, and

24                         a hearing is scheduled for December 8, 2016 before Magistrate Judge Ryu;

25                        SST’s Motion to Supplement the Claim Construction Record, filed on

26                         November 1, 2016. (Dkt. No. 202.) Briefing on this motion is near

27                         complete, with SST’s Reply due on November 22, 2016, and the hearing

28                         scheduled for December 29, 2016 before Judge Gilliam;
     133608368                                    -4-       JOINT CASE MANAGEMENT STATEMENT
                                                            AND [PROPOSED] ORDER
                                                            CASE NO. 3:13-CV-01161 HSG (DMR)
 1           C.     Anticipated Motions

 2           The parties anticipate they may file one or more dispositive motions. In particular, SST

 3   anticipates filing a motion for summary judgment of infringement and/or validity, and Apple

 4   anticipates filing a motion for summary judgment of non-infringement and/or invalidity. Apple

 5   may also file a motion for leave to amend its invalidity contentions pursuant to Patent L.R. 3-6(a)

 6   in view of the Court’s November 4, 2016 claim construction order (Dkt. No. 206). SST may also

 7   file a motion for leave to amend its infringement contentions pursuant to Patent L.R. 3-6 to

 8   accuse the recently-released Apple iPhone 7 and iPhone 7 Plus products of infringing the ’483

 9   and ’340 patents.
10   5.      AMENDMENT OF PLEADINGS

11           SST filed an Amended Complaint on July 11, 2013. (Dkt. No. 12.) Both parties have

12   amended their respective patent local rule disclosures twice. See supra at §4. The first of SST’s

13   amendments accused additional Apple products of infringing the ’483 and ’340 patents, namely,

14   the iPhone 6s, iPhone 6s Plus, iPad mini 4, and iPad Pro. (Dkt. No. 52.) By stipulation, SST

15   also withdrew the iMac as an accused product on February 2, 2016. (Dkt. No. 68.) SST may

16   seek to further amend its pleadings to reflect information obtained through discovery. Apple may

17   also seek to amend its pleadings to reflect information obtained through discovery.

18   6.      EVIDENCE PRESERVATION

19           The parties have reviewed the Guidelines Relating to the Discovery of Electronically
20   Stored Information (“ESI Guidelines”). The parties also confirm that they have met and

21   conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to

22   preserve evidence relevant to the issues reasonably evident in this action.

23   7.      DISCLOSURES

24           The parties disclosed the information required in Fed. R. Civ. P. 26(f)(a)(1)(A) on October

25   4, 2013. Apple has subsequently supplemented its initial disclosures on September 22, 2015 and

26   January 12, 2016, and SST has done so on February 5, 2016, March 9, 2016, and May 27, 2016.

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     133608368                                      -5-      JOINT CASE MANAGEMENT STATEMENT
                                                             AND [PROPOSED] ORDER
                                                             CASE NO. 3:13-CV-01161 HSG (DMR)
 1   8.     DISCOVERY

 2          A.      Discovery Taken to Date

 3          SST’s Position

 4          Both parties have served and responded to document requests and interrogatories. Both

 5   parties have been producing documents, but this process is not yet complete. Apple has served

 6   four2 of its five requests for production of ESI from certain custodians and SST has completed

 7   production of ESI related to three of those requests. SST has served three of its five requests for

 8   production of ESI from certain custodians, but the parties are still negotiating search terms for

 9   those requests. SST served its first two requests for production of ESI in August 2016. Since
10   then, Apple has repeatedly refused to accept any of the several iterations of search terms proposed

11   by SST and, only until November 10, 2016, Apple had not proposed counter-search terms of its

12   own. SST served its third request for production of ESI in October 2016, but, similar to SST’s

13   other two requests, Apple has not agreed to search terms. Apple’s unreasonableness in ESI

14   discovery has delayed SST depositions (see below).

15          Apple has taken eight depositions. Pursuant to the parties’ Joint Stipulation Regarding

16   Depositions (Dkt. No. 185) (“Joint Stipulation”), SST agreed that Apple may take the additional

17   seven depositions of the parties identified in the Joint Stipulation, giving Apple a total of fifteen

18   depositions. SST has taken one deposition, despite having noticed four Apple employees for

19   individual deposition and serving two Rule 30(b)(6) notices in June and July 2016 for which
20   Apple designated in July 2016, in addition to some of the employees SST noticed for individual

21   deposition, three other employees to testify on its behalf. Apple has taken off calendar and

22   postponed indefinitely five depositions of Apple employees that had been scheduled by

23   agreement of both parties. Only one of the depositions has been rescheduled (a postponement of

24   two months to January 2017 without explanation from Apple), but Apple postponed the

25   remaining depositions until after Apple produces ESI responsive to SST’s outstanding ESI

26   requests.

27
     2
       Apple served its Fourth Request for Production of ESI and second Rule 30(b)(6) Notice on
28   November 16, 2016.
     133608368                                     -6-     JOINT CASE MANAGEMENT STATEMENT
                                                               AND [PROPOSED] ORDER
                                                               CASE NO. 3:13-CV-01161 HSG (DMR)
 1          On third party discovery, Apple has served more than ten subpoenas and SST has served

 2   two.

 3          Apple’s Position

 4          SST has served three sets of interrogatories (Nos. 1-16), five sets of document requests

 5   (Nos. 1-63), and three email production requests on Apple. Apple has served five sets of

 6   interrogatories (Nos. 1-21), five sets of document requests (Nos. 1-78), and four email production

 7   requests on SST. Neither party has served any requests for admission.

 8          Both parties have responded to document requests, interrogatories, and email production

 9   requests. Both parties have been producing documents, but this process is not yet complete. SST
10   has completed production of email (less than 10,000 total files) related to three of Apple’s four

11   requests. The parties are still negotiating search terms for two of SST’s requests, the last version

12   of which resulted in more than 200,000 total files across two custodians. Rather than making

13   meaningful changes to its requested search terms (which exceed the limit of 10 under the parties’

14   ESI stipulation (Dkt. No. 55)) or agreeing to share the costs of review and production of

15   documents resulting from its excessive lists of terms, SST has made only minor iterative

16   adjustments to each successive search term proposal, resulting in a protracted negotiation process

17   regarding Apple’s production of email for two custodians. And with respect to the third

18   custodian for whom SST has requested email production, SST has not responded to Apple’s early

19   October correspondence detailing the numerous ways in which SST’s search terms overly broad
20   and inconsistent with the ESI stipulation.

21          Apple has noticed several depositions, served several deposition subpoenas, and taken

22   eight depositions during the time Plaintiff SST was known as THX Ltd.3 Specifically, Apple

23   served two Notices of Deposition of THX pursuant to Fed. R. Civ. P. 30(b)(6), noticed the

24   depositions of six THX employees, including THX’s proffered Rule 30(b)(6) designees and the

25   named inventor of the Patents-In-Suit. Apple also served subpoenas on four THX former

26   employees or contractors and on several third-party manufacturers and/or distributors of prior art

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     3
       Apple’s most recent deposition took place in July 2016. THX Ltd. changed its name to SST on
28   October 13, 2016. (Dkt. Nos. 198-199.)
     133608368                                     -7-      JOINT CASE MANAGEMENT STATEMENT
                                                              AND [PROPOSED] ORDER
                                                              CASE NO. 3:13-CV-01161 HSG (DMR)
 1   products and/or products allegedly incorporating technology similar to the alleged inventions of

 2   the ’483 and ’340 patents. Apple has taken the depositions of four of THX employees pursuant to

 3   Fed. R. Civ. P. 30(b)(1) and 30(b)(6) and three THX former employees and contractors. Plaintiff

 4   has not yet provided certain testimony sought by Apple’s first Rule 30(b)(6) notice, and has not

 5   yet responded to Apple’s second Rule 30(b)(6) notice. The parties have yet to schedule the

 6   depositions of Plaintiff’s remaining Rule 30(b)(6) witnesses, the further deposition of Lawrence

 7   Fincham pursuant to the Court’s Order (Dkt. No. 190) granting Plaintiff leave to further amend its

 8   infringement contentions, and Apple has yet to schedule the depositions of third-party product

 9   manufacturers and/or distributors.
10          SST has noticed the depositions of four Apple employees and served two Rule 30(b)(6)

11   notices for which Apple designated, in addition to some of the employees SST noticed for

12   individual deposition, three other employees to testify on its behalf.4 SST has taken one

13   deposition, and another is scheduled for January 2017. Because SST has stated that it will seek to

14   hold open other noticed Apple depositions pending Apple’s production of email, Apple will make

15   such witnesses available after Apple has completed that production. Proceeding in this fashion

16   will afford SST sufficient opportunity to review that production before those depositions and

17   ensure that Apple’s witnesses do not need to sit for multiple days of deposition (and that the

18   parties do not have to incur the unnecessary costs associated with multi-day depositions). The

19   parties also agreed to postpone the deposition of one of Apple’s Rule 30(b)(6) designees pending
20   resolution of their dispute regarding the scope of discovery as it relates to non-accused

21   components of the accused products.

22          On third party discovery, Apple has served more than 10 subpoenas, and SST has served

23   two.

24          B.      Scope of Anticipated Discovery

25          SST is pursing discovery relating to the factual and legal issues set forth herein above.

26   SST is also pursuing discovery from Apple and third parties regarding: (1) the development,

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     4
       SST noticed the depositions of Apple employees in July and September 2016 and served its
28   Rule 30(b)(6) notices in June and September 2016.
     133608368                                    -8-      JOINT CASE MANAGEMENT STATEMENT
                                                              AND [PROPOSED] ORDER
                                                              CASE NO. 3:13-CV-01161 HSG (DMR)
 1   operation, make up, marketing and advertising of the products and services that allegedly infringe

 2   the ’483 and ’340 patents; (2) Apple’s profits from the alleged infringement of the ’483 and ’340

 3   patents; (3) Apple’s basis for each of its affirmative defenses; (4) Apple’s basis for each of its

 4   counterclaims; (5) Apple’s knowledge of the ’483 and ’340 patents prior to the filing of SST’s

 5   complaint; (6) any opinions of counsel regarding the ’483 and ’340 patents; (7) any licenses

 6   regarding the technology that infringes the ’483 and ’340 patents; and (8) the value to Apple of

 7   the inventions claimed in the ’483 and ’340 patents.

 8           Apple is pursuing discovery relating to the factual and legal issues set forth hereinabove

 9   and in its Answer and Counterclaims. Apple anticipates that this discovery will include at least
10   the following: (1) the conception, reduction to practice, and any alleged diligence in reduction to

11   practice of the inventions claimed by the ’483 and ’340 patents; (2) prior art to the ’483 and ’340

12   patents; (3) the prosecution of the ’483 and ’340 patents, including the applicants’ disclosure of

13   prior art to the Patent Office; (4) title and ownership of the ’483 and ’340 patents; (5) licensing of

14   the ’483 and ’340 patents; (6) any damages claimed by SST; (7) SST’s basis for its claims of

15   infringement; and (8) the October 2016 acquisition of certain of SST’s assets by Razer Tone, Inc.

16   (see Dkt. No. 199) and related matters.

17           The parties have discussed and expect to continue to discuss the proper scope of discovery

18   as it relates to non-accused components of Apple’s accused products, and may require the Court’s

19   assistance to resolve these issues.
20           C.     Proposed Limitations or Modifications of the Discovery Rules
21           Pursuant to the Initial Case Management Conference held on July 7, 2015, the parties are

22   limited to the discovery limits imposed by the Federal Rules of Civil Procedure and the Local

23   Rules except as follows:

24           Interrogatories: 30

25           Requests for Production:

26                  SST’s Proposal Regarding Requests for Production: The parties agreed to a limit

27   of 75 in the previous Case Management Statement. (Dkt. No. 44 at 5.) SST believes this limit

28   remains appropriate.
     133608368                                       -9-       JOINT CASE MANAGEMENT STATEMENT
                                                               AND [PROPOSED] ORDER
                                                               CASE NO. 3:13-CV-01161 HSG (DMR)
 1                  Apple’s Proposal Regarding Requests for Production: Apple proposes to

 2   increase the limit to 100. The Court has not entered an order effecting the parties’ prior

 3   agreement, and the Federal Rules of Civil Procedure impose no limit on the number of Requests

 4   for Production a party may serve. To the extent the parties are bound by their prior agreement,

 5   Apple believes its proposed increase from 75 to 100 Requests for Production is warranted in light

 6   of the need for additional discovery arising from SST’s sale of certain assets to Razer Tone, Inc.

 7   (Dkt. No. 199).

 8           Requests for Admission: 100

 9           Notwithstanding the default limit of ten depositions per party provided by Fed. R. Civ. P.
10   30(a)(2)(A)(i), the parties stipulated that Apple may take the additional seven depositions of the

11   parties identified in the Joint Stipulation, giving Apple a total of fifteen depositions. (Dkt. No.

12   185.) Given SST’s October 2016 transfer of certain assets to Razer Tone, Inc. (see Dkt. No. 199)

13   and related transactions, Apple wishes to take additional depositions of entities and/or individuals

14   not specifically identified the Deposition Stipulation. The parties will meet and confer in good

15   faith in accordance with the parties’ Deposition Stipulation.

16           D.     ESI Discovery
17           The parties have agreed to and entered a stipulation regarding the discovery of

18   electronically stored information. (Dkt. No. 55.)

19           E.     Discovery Plan
20           The parties have set forth their respective positions on the discovery and pretrial schedule

21   in Attachment A.

22           F.     Discovery Disputes

23           The parties have briefed various discovery disputes to Magistrate Judge Ryu. (See Dkt.

24   Nos. 59, 69, 82, 83, 85, 86, 87, 109, 125, 137, 140, 152, 155, 158.) All of the parties’ discovery

25   disputes briefed directly to the Magistrate Judge have been resolved, except for the dispute

26   regarding Apple’s response to SST Interrogatory No. 13 (see Dkt. No. 155), and Apple’s motion

27   for sanctions relating to the deposition testimony of Peter Vasay and SST’s cross-motion to re-

28   designate the Vasay deposition testimony as percipient witness testimony, filed on July 29, 2016
     133608368                                      -10-       JOINT CASE MANAGEMENT STATEMENT
                                                               AND [PROPOSED] ORDER
                                                               CASE NO. 3:13-CV-01161 HSG (DMR)
 1   and August 12, 2016, The parties also have several informal discovery disputes that they are

 2   attempting to resolve without Court intervention.

 3   9.      CLASS ACTIONS

 4           Not applicable.

 5   10.     RELATED CASES

 6           Other than the appeals of the PTAB’s decision in the IPR-235 proceeding discussed

 7   above, there are currently no related cases or proceedings pending before another judge of this

 8   Court or before another court or administrative body.

 9   11.     RELIEF
10           SST seeks entry of judgment against Apple (1) declaring that Apple has infringed the ’483

11   and ’340 patents; (2) permanently enjoining Apple and its respective officers, directors, agents,

12   servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

13   active concert therewith from infringement of the ’483 and ’340 patents; (3) awarding damages in

14   an amount adequate to compensate SST for Apple’s infringement, consisting of a reasonable

15   royalty; and (4) awarding prejudgment interest, costs, attorney fees, and such other and further

16   relief as the Court may deem just and proper. SST has disclosed to Apple its initial assessment of

17   what a reasonable royalty may be. (See Dkt. No. 155-1.) The royalty rates provided to Apple are

18   currently under seal. (Dkt. No. 158.)

19           Apple seeks (1) a declaratory judgment that it has not infringed the ’483 and ’340 patents,
20   directly or indirectly, and that the ’483 and ’340 patents are invalid and unenforceable; (2) an

21   order dismissing the Amended Complaint in its entirety with prejudice; and (3) an award of its

22   attorneys’ fees and costs pursuant to 35 U.S.C. § 285. If liability is established, Apple contends

23   that SST would be entitled to damages amounting to a reasonable royalty of at most a nominal

24   lump sum.

25   12.     SETTLEMENT AND ADR

26           The parties previously stipulated to private ADR to be held within 60 days from issuance

27   of the Court’s claim construction order. (Dkt. No. 11.) The parties now request that the Court

28
     133608368                                      -11-       JOINT CASE MANAGEMENT STATEMENT
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 1   refer this case to the Northern District of California’s ADR program pursuant to Civil Local Rule

 2   16-8(a).

 3   13.     CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES

 4           The parties decline to proceed before a magistrate judge.

 5   14.     OTHER REFERENCES

 6           The parties do not believe that this case is suitable for reference to binding arbitration, a

 7   special master, or the Judicial Panel on Multidistrict Litigation.

 8   15.     NARROWING OF ISSUES

 9           The parties believe that it is premature to narrow the issues for trial other than to make the
10   identifications required by the Patent Local Rules.

11   16.     EXPEDITED SCHEDULE

12           The parties do not presently believe that this is the type of case that can be handled on an

13   expedited schedule.

14   17.     SCHEDULING

15           The parties have set forth their respective positions on the discovery and pretrial schedule

16   in Attachment A.

17   18.     TRIAL

18           The trial will be a jury trial, and the parties preliminarily anticipate that the trial will be 5-

19   10 full court days.
20   19.     DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS

21           On July 11, 2013, SST filed a “Certification of Interested Entities or Parties” as required

22   by Civil Local Rule 3-16. (Dkt. No. 13.) In particular, SST certified that the following listed

23   persons, associations of persons, firms, partnerships, corporations (including parent corporations)

24   or other entities (i) have a financial interest in the subject matter in controversy or in a party to the

25   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

26   substantially affected by the outcome of this proceeding:

27
28
     133608368                                        -12-       JOINT CASE MANAGEMENT STATEMENT
                                                                 AND [PROPOSED] ORDER
                                                                 CASE NO. 3:13-CV-01161 HSG (DMR)
 1          Name                Connection and Interest
 2          Lucasfilm Ltd.      Holds no less than 10% interest in Slot Speaker Technologies, Inc.
 3          Archview            Holds no less than 10% interest in Slot Speaker Technologies, Inc.
 4          Capital Ltd.

 5           On November 16, 2016, SST filed a notice of Plaintiff’s name change from “THX Ltd.” to

 6   “Slot Speaker Technologies, Inc.,” and request that the case docket and caption be updated

 7   accordingly. On November 17, the Court granted Plaintiff’s request to update the docket and case

 8   caption.

 9           On August 1, 2013, Apple filed a Certification of Interested Entities or Parties pursuant to

10   Local Rule 3-16. (Docket No. 27.) Apple has no parent corporation, and no publicly held

11   company owns more than 10% of Apple stock.

12   20.     PROFESSIONAL CONDUCT

13           All attorneys of record for the parties have reviewed the Guidelines for Professional

14   Conduct for the Northern District of California.

15   21.     OTHER MATTERS

16           A.        Stipulated Protective Order

17           The parties have lodged a Stipulated Protective Order with the Court. (Dkt. No. 120.)

18   DATED: November 22, 2016
                                                             By:      /s/ Eric L. Wesenberg
19                                                                          Eric L. Wesenberg
20                                                           Attorneys for Plaintiff
                                                             SLOT SPEAKER TECHNOLOGIES, INC.
21
22   DATED: November 22, 2016                                By:       /s/ Nina S. Tallon
                                                                                Nina S. Tallon
23
                                                             Attorneys for Defendant
24                                                           APPLE INC.
25               Pursuant to Civil Local Rule 5-1(i)(3), counsel for SST has obtained the concurrence of

26   Apple’s counsel in the filing of this Stipulated Request.

27   Dated: November 22, 2016                                            /s/ Eric L. Wesenberg
                                                                             Eric L. Wesenberg
28
     133608368                                        -13-         JOINT CASE MANAGEMENT STATEMENT
                                                                   AND [PROPOSED] ORDER
                                                                   CASE NO. 3:13-CV-01161 HSG (DMR)
 1                                         ATTACHMENT A

 2
     Party       Item                                  SST Proposed Due     Apple Proposed
 3                                                     Date                 Due Date

 4   All         Status Conference with the Court      November 29, 2016
 5   All         Alternate Dispute Resolution in       January 20, 2017     January 20, 2017
                 the Northern District of
 6               California
 7
     All         Non-Expert Discovery Cutoff           May 1, 2017          May 1, 2017
 8
     All         Deadline for Designating Experts      June 1, 2017         May 15, 2017
 9
     All         Service of Opening Expert             July 1, 2017         June 9, 2017
10               Reports
11   All         Service of Rebuttal Expert            August 1, 2017       July 7, 2017
                 Reports
12
     All         Expert Discovery Cutoff               September 1, 2017    August 18, 2017
13
     All         Deadline for Filing Dispositive       October 1, 2017      September 14, 2017
14               Motions
15   All         Hearing of Dispositive Motions        November 5, 2017     October 19, 2017
16   All         Exchange of Evidence                  February 5, 2018     October 24, 2017
17   All         Deadline for Filing Motions in        February 12, 2018    November 7, 2017
                 Limine
18
     All         Motion in Limine Oppositions          February 19, 2018    November 14, 2017
19
     All         Joint Pretrial Statement and          February 19, 2018    November 14, 2017
20               Proposed Order
21   All         Proposed Jury Instructions            February 19, 2018    November 14, 2017
22   All         Proposed Voir Dire Questions          February 19, 2018    November 14, 2017
23   All         Proposed Verdict Forms                February 19, 2018    November 14, 2017
24   All         Proposed Statement of the Case        February 19, 2018    November 14, 2017
25   All         Trial Briefs (Optional)               February 19, 2018    November 14, 2017
26   All         Pretrial Conference                   March 5, 2018        November 28, 2017
27   All         Trial                                 March 19, 2018       December 4, 2017
28
                                                           JOINT CASE MANAGEMENT STATEMENT
     133608368                                  -14-       AND [PROPOSED] ORDER
                                                           Case No.: 3:13-CV-01161-HSG (DMR)
 1                                 CASE MANAGEMENT ORDER

 2           The Case Management Statement and Proposed Order is hereby adopted by the Court as

 3   the Case Management Order for the case and the parties are ordered to comply with this order.

 4   DATED: ________, 2016
                                                 __________________________________________
 5
                                                      The Honorable Haywood S. Gilliam, Jr.
 6                                                         United States District Judge

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                                                            JOINT CASE MANAGEMENT STATEMENT
     133608368                                    -15-      AND [PROPOSED] ORDER
                                                            CASE NO. 3:13-CV-01161 HSG (DMR)
 1                                     CERTIFICATE OF SERVICE

 2             The undersigned hereby certifies that on November 22, 2016, a true and correct copy of

 3   the foregoing was served on all interested parties via electronic mail pursuant to Civil Local Rule

 4   5-1(h).

 5                                                                 /s/ Eric L. Wesenberg
                                                                       Eric L. Wesenberg
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                                                              JOINT CASE MANAGEMENT STATEMENT
     133608368                                                AND [PROPOSED] ORDER
                                                              CASE NO. 3:13-CV-01161 HSG (DMR)
